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                        EXHIBIT C
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      (12) United States Patent                                                        (10) Patent No.:     US 7,152,018 B2
             Wicks                                                                     (45) Date of Patent:     Dec. 19, 2006
      (54) SYSTEM AND METHOD FORMONITORING                                               6,839,680 B1   1/2005 Liu et al. ...................... 70.5/10
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      (75) Inventor: Tony Wicks, Condon (GB)                                             6,944,797 B1 * 9/2005 Guthrie et al. ................ T14/45
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      (73) Assignee: Searchspace Limited, London (GB)                                    6,970,933 B1* 11/2005 Masters .....                ... TO9,229
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      (*) Notice:          Subject to any disclaimer, the term of this             2002.0062367 A1* 5, 2002 Debber et al. .           ... 709,224
                           patent is extended or adjusted under 35                 2002/0136204 A1* 9, 2002 Chen et al. ................. 370,352
                           U.S.C. 154(b) by 0 days.
      (21) Appl. No.:           10/499,578                                                                    (Continued)
                                                                                                 FOREIGN PATENT DOCUMENTS
      (22) PCT Filed:           Dec. 18, 2002
                                                                                  EP                1 O2O 804          T 2000
      (86). PCT No.:            PCT/GB02/05772
              S 371 (c)(1),                                                                                   (Continued)
              (2), (4) Date: Nov. 4, 2004                                                            OTHER PUBLICATIONS
      (87) PCT Pub. No.: WO03/056430                                              “What are cookies?” Internet Cookies. The U.S. Department of
                                                                                  Energy Computer Incident Advisory Capability, No. I-034, Mar. 12,
              PCT Pub. Date: Jul. 10, 2003                                        1998, pp. 1-10.
      (65)                Prior Publication Data                                                          (Continued)
              US 2005/0066O11 A1     Mar. 24, 2005                                Primary Examiner Carol S. W. Tsai
                                                                                  (74) Attorney, Agent, or Firm Fulbright & Jaworski LLP
      (30)          Foreign Application Priority Data
                                                                                  (57)                       ABSTRACT
        Dec. 21, 2004 (GB) ................................. O130744.6
      (51) Int. Cl.                                                               A method of monitoring user usage patterns of a system,
              G06F 5/16               (2006.01)                                   comprising the steps of providing at least one state object
      (52) U.S. Cl. ...................... 702/186; 709/203; 709/217;             (180), the object including a profile representative of user
                 709/218; 709/219; 709/223; 709/224; 709/226;                     usage; Storing the state object at a client location (110);
                                                               709/229            passing, to a central server (120), the state object with each
      (58) Field of Classification Search ..................... None              Subsequent interaction initiation; and receiving, from the
           See application file for complete search history.                      central server, the state object along with the response (170)
      (56)                    References Cited
                                                                                  of the central server, wherein the profile is modified to reflect
                                                                                  the interaction between client location and central server.
                       U.S. PATENT DOCUMENTS                                      The present invention ides a system and a method for
                                                                                  monitoring user usage patterns, and is particularly Suited to
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                                              O                                                                 120

                                        COMPUTER                                                          COMPUTER
                                           WEB                               80             60               WEB
                                        BROWSER                                                             SERVER
                                                                        COOKE

                                                                            HTML


                                                                    170             90




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                                                           US 7,152,018 B2
                                     1.                                                                   2
          SYSTEMAND METHOD FORMONITORING                                   identifiers are also used to build aggregate historical details
                  USAGE PATTERNS                                           of URLs accessed and other such statistics. This information
                                                                          can then be used for marketing purposes to infer the interests
         This invention relates generally to the monitoring, record of users and for the generation of targeted web page content.
      ing and analysis of user activity. In particular the invention         In some environments the use of unique cookies for user
      relates to a method to create and store a profile of user identification           purposes is undesirable, because it reduces the
      activity and a system for doing so.
         Usage of the Internet and the World-Wide-Web (“the user identificationwhich
                                                                          anonymity    with         users can access resources. Unique
      web”) has become commonplace. The web applies a client the requirement is to targetunnecessary
                                                                                              is also                in many cases where
                                                                                                        content to users based on general
      server computing architecture, where data is stored on server 10
      machines and can be requested and transferred to a user's characteristics, or profiles, of activity rather than on indi
      computer. Users generally request pages through the use of vidual characteristics. The computational requirements to
      computer applications known as “browsers', which are classify and extract details of users based on a single unique
      available for a range of computing devices, from desktop or identifier, combined with the storage requirements to pro
      personal, computers to mobile phones and Personal Digital 15 cess past histories, may also be undesirable. Further, Such
      Assistants (PDAs). The most common protocol used for processing cannot benefit from web page caches, or similar
      communication between web clients and web servers is the            methods which speed access to site content, because all
      HyperText Transfer Protocol (HTTP). Documents are com processing associated with the identification of the user
      monly transferred in Hypertext Markup Language (HTML) identifier must be performed by the originating web servers.
      format that allows content to be expressed for display in the          In accordance with the present invention there is provided
      client web browser. Other data transfer formats are also in         a method of monitoring user usage patterns of a system,
      common use. HTML and other formats also allow the web               comprising the steps of providing at least one state object,
      browser to retrieve and embed computer language scripts, the object including a profile representative of user usage;
      commonly termed Dynamic HyperText Markup Language storing the state object at a client location; passing, to a
      (DHTML), that allow additional client side programmable 25 central server, the state object with each Subsequent inter
      behaviour to be performed.                                          action initiation; and receiving, from the central server, the
         HTTP was originally a stateless transfer method, in that state object along with the response of the central server,
      servers responded to each client request without relating the wherein the profile is modified to reflect the interaction
      request to previous or Subsequent requests. Internet standard between client location and central server.
      RFC2029 introduced an extension to the HTTP protocol that 30 Preferably the profile includes at least one key and
      allows the server to store a state object on the client browser,
      and to retrieve and change this object during subsequent value-field             pair. The key is an identifier of a particular
                                                                          interaction type, and the value-field comprises information
      transfers. This object, often referred to as a cookie, allows a relating to that interaction. In a simple embodiment the
      stateful session (a session during which details are retained value-field would contain a count of the number of occur
      and shared between a client and server) between the client 35 rences of that particular interaction type. In addition to an
      and server systems that can be used to track and identify interaction count the value-field may contain a time com
      further HTTP requests. This approach is in widespread use ponent denoting the time at which the count in the value
      and allows managed client-server sessions, such as those
      found in web shopping systems. Cookies can be exchanged field             was last modified and may also contain a second time
                                                                          component    denoting the time that the key and value-field
      during any HTTP transfer, assuming the browser Supports was first created.
                                                                       40
      the capability or that the capability is not disabled. This field componentsInmay         other implementations additional value
                                                                                                    be used for other operational pur
      includes the request and transfer of embedded HTML docu poses.
      ment content, such as image files. The scope of access by              Preferably, at least one state object is provided by the
      which servers can read and change cookie Values can be central
      controlled by Uniform Resource Locator (URL) path and 45 and theserver              during the first interaction between the server
      Internet domain parameters. Cookies can be set and updated providedclient           location. More preferably, the state object is
                                                                                     as a part of the central server's response to a
      by server side processes or through DHTML, or similar,
      Scripts embedded in web pages.                                      request for resources/information submitted by the client
         Numerous Internet sites use cookies to personalise web location.
      page content, to remember user or password details for 50 Preferably, the modification of the profile includes; pro
      future site visits, for session management in on-line sales, to viding at least one further state object, the further state
      track web page usage and for the targeted delivery of content object comprising one or more key and value-field pair, and
      and advertisements. A common practice is for a server to            storing at least one further state object at the client location.
      place a unique identifier in the cookie on a client's machine Preferably, at least one further state object is provided by the
      when that machine first accesses the server. This allows the 55 central server. The modification of a profile may include one
      browser being used by the user to be identified during or more of incrementing the count component of at least one
      Subsequent requests. If a user then Submits personal infor key and value-field pair and modification of the time com
      mation Such as name, address or e-mail details, then, using ponents of at least one value-field; adding at least one further
      this process, the identifier can be used to recognize the actual key and value-field pair to the profile; and removing one or
      user. Additional information such as the IP address or 60 more key and value-field pair from the profile
      domain name of the user's computer, the browser type and               Preferably, modification of the profile is carried out within
      version, the client operating system, the Internet service the central server. Alternatively, the modification of profiles
      provider, the local machine time and the URL of the data is effected by one or more scripts within or included in
      being accessed can also be collected and audited during the information/resources provided to the client location by the
      HTTP transfer. This allows geographical and demographical 65 central server, or one or more program executed at the client
      information, that can be used for user identification and           location, thus precluding manipulation of the profile by the
      targeting of specific content, to be derived. The unique SeVe.



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        In a preferred embodiment of the present invention,               groupings. The invention is computationally efficient in that
      interaction between the client location and the central server      profile details are stored and updated on the client machine,
      occurs via the internet, or other analogous means.                  rather than the server machine, and, unlike other systems,
         Preferably, the central server further audits the state object   does not require database storage and lookup on the server
      provided to it. Preferably, the central server performs analy       side, since the profiles are readily available from the client
      sis on the audited profile in order to direct services and/or machine.
      information suited to the profile to the client location.               The invention also has the advantage that, in one imple
         Also in accordance with the present invention there is mentation where client side calculation is used to generate
      provided a module configured to monitor user usage patterns and update the profiles, web pages can be accessed through
      within a system, the module resident within the system, the 10 web page caches or similar services and direct access to the
      system comprising: a central server; and at least one client originating server is not required.
      location; and the module comprising: means, within the                  Since profile information is held on the client machine it
      central server, for generating at least one state object; and is possible that a user may modify details of the profile or
      means for modifying a profile representative of system remove it completely. Obfuscation or other means can be
      usage included in the state object to reflect interactions 15 used to deny user access to the content held. However, in
      between the central server and client location, wherein the at       web environments, where very large Volumes of users access
      least one state object is stored at the client location and is resources, it is unlikely that any errors deliberately intro
      passed between the client location and central server during duced into profiles being considered would detrimentally
      interactions.                                                        effect system performance. Indeed, statistical, or other meth
         Preferably, the profile includes at least one key and ods, could be used to reduce potential sources of error.
      value-field pair. In one embodiment the value-field contains            The previous discussion sets forth a particular application
      an interaction count. Alternatively, the value-field contains in which there exist problems one or more of which are
      an interaction count and components relating to the time of addressed by the present invention. However the techniques
      last modification of the interaction count and/or the time of        and principles discussed hereinafter apply to other environ
      creation of the key and value-field.                              25 ments that apply similar mechanisms. Similar methods, for
         In a preferred embodiment, the means for modifying example, could be used in any client and server computing
      includes: means for incrementing a count which embodies environment, in card (or other forms) of loyalty scheme, or
      the value-field of at least one key and value-field pair of the to monitor any environment where state information is
      profile; means for adding at least one further key and retained by a user and where this state can be updated as
      value-field pair to the profile; and means for removing one 30 users access different features or areas of a system.
      or more key and value-field pair from the profile. Preferably,          A specific embodiment of the present invention is now
      modification of the profile is carried out within the central described, by way of example only, with reference to the
      server. Alternatively, modification of the profile is effected accompanying drawings, in which:
      through one or more Scripts within or included in informa               FIG. 1 is a block diagram showing one implementation of
      tion/resources provided to the client location by the central 35 the system of the present invention and including a number
      server, or by one or more program executed at the client of example communications within it; and
      location, thus precluding manipulation of the profile by the            FIGS. 2a and 2b illustrate communications between
      SeVe.                                                                server and user location during a first interaction and during
         In a preferred embodiment of the present invention, a repeat interaction, respectively.
      interaction between the central server and client location 40           The present invention is described in terms of an Internet
      occurs via the internet, or other analogous means.                   web environment where cookies, or other state objects, are
         Preferably, the server further includes means for auditing exchanged. Those skilled in the art will understand that the
      the profile and for analysing the audited profile of user invention may be applied in a wide range of client and server
      usage. Such that information/services Suited thereto may be computing environments or a multitude of other business
      provided to the client location by the central server.            45 environments. For example, the present invention may be
         As such, the present invention provides an automated implemented in any general computer or computing envi
      system and method for the monitoring of user activity in ronment and in a multitude of business types and areas.
      environments where there is the exchange and storage of                 Description in the above terms is for convenience only. It
      state information between client and server systems, such as is not intended that the invention be limited in application to
      web and Internet environments. The invention allows pro 50 this example environment, as is stated above.
      files of user activity to be built based on a range of                  In general, but not exclusive, terms the invention can be
      parameters, which may include general classifications of implemented as shown in FIG. 1. FIG. 1 shows a block
      page content previously viewed, the URLs of pages viewed, diagram of a client computer 110 running a web browser
      or other details that might be used to classify or subdivide application 130, and a server computer 120 operating with
      groups of web pages or web sites such as input from controls 55 a web page server application 140. The diagram represents
      associated with one or more pages, e.g. buttons and active the sequence associated with a web page transfer between
      images (image maps). In a simple form the profile may the server 120 and client 110 systems. A web page request
      comprise a histogram containing counts of web page types             150 is sent to the web server 140, identifying content/
      that have been accessed by a user. This information can then resources to be transferred. This is done through the use of
      be used to determine the specific pattern of interests for a 60 a URL. The web server locates the web page content/
      user and can be used to target advertisements, or other resources, or dynamically generates the content/resources,
      content forms, when a site is re-visited.                            and a response 160 returns an HTTP result 170 to the
         The site serving the web pages can also audit the profiles requesting client. This result contains header information
      and these aggregations can be used to derive typical or according to the HTTP protocol, cookie information 180 and
      average profiles for all users or groups of users of a system. 65 web page content 190. This initial request assumes that there
      Profile aggregations at the server may include the consid is no cookie relating to this server already set on the client
      eration of demographic or other information to create profile browser.



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         When the next request for web page content is made from time at which the key value-field pair was changed. In this
      client to server the cookie initially sent by the server may be case the cookie would take the following form:
      sent, according to the guidelines of Internet standard                PROFILE=10O2/10/TIME 1: 1899 11 FTIME2:234.5/5/
      RFC2029, back to the server. In this way cookies are                     TIME3:7783f2O/TIME4
      transferred between client and server during Subsequent               In another alternate implementation of the invention, a
      requests, and between server and client during Subsequent time of creation specifier may be added to each value-field.
      responses, as may be seen in FIGS. 2a and 2b. Additional This specifier will detail the time at which the key and
      cookies can be transferred and the content of existing value-field was created. In this case the cookie would take
      cookies can be changed or deleted. Changes to cookies can the following form:
      happen as part of the server processing as indicated by the 10 PROFILE=10O2/10/TIME1FTIME 1 creation: 1899/1f
      function boxes 202.204 in FIGS. 2a and 2b. Alternatively,                TIME2/TIME2creation:
      Such changes may be made as a part of the client side                    234.5/5/TIME3/TIME3 creation:7783f2O/TIME4f
      processing. In this situation, the changes may be initiated by             TIME4creation
      and/or carried out by a part of one of more scripts down              Of course, a time of creation specifier may be added to
      loaded with the information/resources from the server for 15 value fields containing only interaction counts also.
      example, as will be described further below.                          An efficient time representation is a long integer count of
         In the course of operation of the invention, cookies, or seconds or milliseconds, based upon some epoch.
      groups of cookies, associated with particular areas of a web          Through the use of Scripts within web pages, or included
      site are set and updated on the client browser. In one in web pages, it will be understood that it is possible to
      implementation of the invention, the value associated with a update and manipulate the contents of the cookie profile
      cookie comprises a set of key and value-field elements or without requiring any server side manipulation. In this case,
      pairs. In another implementation, multiple cookies could be each web page may call the same function in a single script
      used to retain the same information. In general terms the key file, which passes an enumerated identity number that clas
      and value-field elements or pairs represent an identifier and sifies the web page content, to update the profile cookie
      a count indicating the number of times that resources 25 value. Alternatively, changes may be initiated and/or carried
      associated with the identifier have been accessed. For             out by computer programs running on the client, such as
      example, the key identifier may relate to the URL of pages ActiveX controls or web-browser plug-ins.
      accessed, but would more generally relate to broad classi             As a user browses multiple pages and HTTP requests are
      fications associated with web page content, such as sport (or made for additional content, the profile of user behaviour
      areas of sport, Such as football, hockey, tennis), entertain 30 held in the cookie on the client browser will change to
      ment, news, science, etc. Generally the key identifier will be represent the user pattern of interests. This pattern is then
      an enumerated integer (although names could be used), audited, when the cookie is sent as part of a request to a web
      where each integer relates directly to a content type. Typi server or may be accessed and used from within the web
      cally, profiles in the invention will be represented in cookies page or otherwise by the client computer. It is therefore
      in the following manner:                                        35 possible to perform statistical analysis on the profile in order
         PROFILE=10O2/10:234515:7783f2O                                  to identify content most suitable to be served to the user. In
         The cookie contains a sequence of key/value-field pairs this way targeted content or targeted advertising content can
      separated by a semi-colon. In this example there are three be served to a user, in response to web page requests. A
      entries, for content classifications 1002, 2345 and 7783, with     simple example of this targeting would be the ordering of
      value-fields comprising interaction counts of 10, 5 and 20 40 page content or navigation details on a page in accordance
      respectively. Any suitable separator characters could be used with preferences or weighted importance expressed in the
      between each key and value-field or between the key and profile.
      value-field pairs. When an HTTP request is made to a server,          Since the profile of user activity is held in a cookie on the
      the client browser sends the existing profile as a part of the web browser of the client computing device, server-side
      request:                                                        45 storage requirements are minimised. According to
         Cookie: PROFILE=1002/10:234.5/5:7783/20;                        RFC2029, each cookie can hold up to 4 kilobytes of infor
         The server can then amend value-fields as part of the mation, which is sufficient to store at least 120 key and value
      HTTP response, where content types are already repre field elements or pairs (dependent upon the precise make-up
      sented, as follows:                                                of the components of the value-field). If there is a require
         Setookie: PROFILE=1002/10:234.5/6:7783/20;path=/; 50 ment to extend the profile beyond these limits, the profile
            expires–Thursday,           5-Dec.-2002         12:15:00;    can be extended across multiple cookies, e.g. PROFILE1
            domain acme.com                                              PROFILE2. Increasing the granularity of the profile in this
         or add to the profile where a new content type is presented way will improve the ability of the system to classify user
      in the response, as follows:                                       behaviour. However, where there is limited storage, older
         SetCookie:PROFILE=1002/10:1899/1:234.5/5:7783/20; 55 key and value pairs may be removed in order to make room
            path=/:expires–Thursday, 5 Dec.-2002 12:15:00; for newer values. In this case, the older values, or older
            domain acme.com                                              values with Small value counts, are removed in preference to
         In these cases the “domain and “path’ attributes are used newer values.
      to control the operational scope of the cookies whilst the            In another form of the invention, a second cookie is set on
      “expires’ attribute is used to define the time at which the 60 the client browser and operates in an identical fashion to that
      cookie becomes invalid, according to the standard defined in described above. A second profile included within the sec
      RFC2029. The “expires' attribute will generally be set ond cookie may be audited and removed by server systems.
      sufficiently in the future such that the cookie never expires,     Periodic removal in this way allows server systems to track
      or the attribute could be updated so that the cookie expires usage between defined time periods associated with initial
      a given time period after the last access was performed. 65 population and removal of the profile. Removal can also be
         In an alternate implementation of the invention, a time limited to be performed only when particular resources are
      specifier may be added to the value-fields detailing the last accessed. Thus, user interests associated with access to that



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      resource can be measured for a population of users. As an              2. A method as claimed in claim 1, wherein the profile
      example, a client browser may have the following profile            includes at least one key and value-field pair.
      information on access to a given server                                3. A method as claimed in claim 2, wherein the key is an
        PROFILE=10O2/1OFTIME 1:1899/1 FTIME2:234.5/5/                     identifier of a particular interaction type, and the value-field
           TIME3:7783f2O/TIME4               TRANSIENT PRO                contains a count of the number of occurrences of that
           FILE=10O2A1 OFTIME 1:189971 FTIME2                             particular interaction type.
         Following access to the server, and auditing of the tran           4. A method as claimed in claim3, wherein the value-field
      sient profile, the profiles might become:                           further contains at least one of a time component detailing
        PROFILE=10O2/11/TIME 1: 189971 FTIME2:234.5/5/                    the last modification of the interaction count and a time
          TIME3:7783f2O/TIME4 TRANSIENT PROFILE=                     10
                                                                        component detailing the creation of the key and value-field.
        In effect, a nontransient profile provides an historical          5. A method as claimed in claim 1, wherein the at least one
     record of user interests over an extended period. It is the state       object is provided by the central server during a first
     purpose of a transient profile to allow recent user interests to interaction   between the server and the client location.
     be identified associated with a particular resource and thus
     to avoid re-counting users who have previously accessed the 15 object is providedasasclaimed
                                                                          6. A   method                 in claim 5, wherein the state
                                                                                                a part of the central server's response
     resource (i.e. outside the period of interest). If a non to a request for resources/information                 submitted by the
     transient profile were utilised for this purpose, previous client location.
     access by users would be counted and an unrealistic count
     would be produced.                                                   7. A method as claimed in claim 2, wherein the step of
        It is thus clear that the present invention may be imple modifying the profile includes:
     mented Solely through the use of server side processing, or          providing at least one further state object, wherein the at
     through the combination of client and server side process               least one further state object includes a further profile
     ing. Where server side processing is used exclusively there             representative of user usage, the further profile com
     is no requirement for the use of client side processing, other          prising one or more key and value-field pair, and
     than that involved in the transfer and storage of cookie 25 storing the at least one further state object at the client
     information. Where client side processing is used for the               location.
     maintenance and update of profile data there is no require           8. A method as claimed in claim 7, wherein the at least one
     ment for access to the server originating the page content, further state object is provided by the central server.
     and the client can therefore be served through web caches,           9. A method as claimed in claim 4, wherein the modifi
     or proxy servers. This makes the invention highly scalable 30 cation of the profile includes one or more of:
     and very efficient. However, direct server access will be            incrementing the count component of the at least one key
     required in order to audit profile information, unless such             and value-field pair;
     auditing is carried out directly by the client application.
        The present invention is particularly, but not exclusively        updating a time component of the at least one key and
     as has already been set forth, suited to Internet environments 35       value-field pair;
     for the monitoring of web pages and similar content forms.           adding at least one further key and value-field pair to the
     The profiles generated by the invention audit a user's system           profile; and
     behaviour and can be used to infer a users pattern of                removing one or more key and value-field pair from the
     interests. In this way, the invention can be used to build              profile.
     profiles of user behaviour for those using Internet services 40 10. A method as claimed in claim 1, wherein modification
     Such as web sites, for the generation of targeted page of the profile is carried out within the central server.
     content, such as targeted advertising, for the targeted sale of      11. A method as claimed in claim 1, wherein interaction
     goods or services and for logging and audit purposes. The between            the client location and the central server occurs via
     invention has the advantage of anonymity, robustness and the Internet.
     reduced server side storage requirements.                       45
                                                                          12. A method as claimed in claim 11, wherein the central
        It will of course be understood that the present invention server      further audits the state object/profile passed to it.
     has been described above purely by way of example, and
     that modifications of detail can be made within the scope of         13. A  method as claimed in claim 12, wherein the central
     the invention.                                                     server performs analysis on the audited profile in order to
                                                                    50    direct at least one of services and information Suited to the
        The invention claimed is:                                      profile to the client location.
        1. A method of monitoring user usage patterns of a                14. A module configured to monitor user usage patterns
      system, comprising the steps of                                  within a system, the module resident within the system, the
        providing at least one state object, the object including a system comprising:
           profile representative of user usage;                    55    a central server, and
        storing the state object at a client location;                    at least one client location;
        passing, to a central server, the state object with each
           Subsequent interaction initiation; and                         the module comprising:
        receiving, from the central server, the state object along           means, within the central server, for generating at least
           with the response of the central server;                 60          one state object; and
        wherein the profile is modified, to reflect the interaction          means for modifying a profile representative of system
           between the client location and the central server, by              usage included in the state object to reflect interac
           one of one or more Scripts within or included in                    tions between the central server and the client loca
           information/resources provided to the client location by            tion, wherein modification of the profile is effected
           the central server, and one or more programs executed 65            through one of one or more Scripts within or included
           at the client location, thus precluding manipulation of              in information/resources provided to the client loca
           the profile by the server.                                          tion by the central server, and one or more programs



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              executed at the client location thus precluding          21. A computer program product comprising a computer
              manipulation of the profile by the server;             readable medium having stored thereon computer program
        wherein the at least one state object is stored at the clientmeans for causing a computer to monitor user usage patterns
           location and passed between the client location and       within a system, comprising:
           central server during interaction therebetween.             code for providing at least one state object, the object
         15. A module as claimed in claim 14, wherein the profile         including a profile representative of user usage;
      includes at least one key and value-field pair.                  code for storing the state object at a client location;
        16. A module as claimed in claim 15, wherein the value         code for passing, to a central server, the state object with
     field contains an interaction count.                                 each Subsequent interaction initiation; and
        17. A module as claimed in clam 15, wherein the means 10 code for receiving, from the central server, the state object
     for modifying includes:                                              along with the response of the central server, and
        means for incrementing a count which embodies a value          code for wherein the profile is modified, to reflect the
           of the at least one key and value-field pair;                  interaction between the client location and the central
        means for updating a time component of the at least one           server, by one of one or more scripts within or included
           key and value-field pair;                              15      in information/resources provided to the client location
        means for adding at least one further key and value-field         by the central server, and one or more programs
           pair to the profile; and                                       executed at the client location, thus precluding manipu
        means for removing one or more key and value-field pair           lation of the profile by the server.
           from the profile.                                           22. A method as claimed in claim 8, wherein the further
        18. A module as claimed in claim 14, wherein modifying state object is audited and removed after a specified time
     the profile is carried out within the central server.           period or in response to an access by the client of a specified
        19. A module as claimed in claim 14, wherein interaction         SOUC.
     between the central server and the client location occurs via        23. A module as claimed in claim 16, wherein the value
     the Internet.                                                      field contains at least one of a time component detailing the
         20. A module as claimed in claim 14, further including 25 last modification of the interaction count and a time com
      means for auditing the profile, and for analyzing the profile ponent detailing the creation of the key and value-field.
      or user usage, such that information/services Suited thereto
      is provided to the client location by the central server.                           k   k   k   k  k




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                 UNITED STATES PATENT AND TRADEMARK OFFICE
                       CERTIFICATE OF CORRECTION

 PATENT NO.            : 7,152,018 B2                                                               Page 1 of 1
 APPLICATIONNO. : 10/499578
 DATED                 : December 19, 2006
 INVENTOR(S)           : Tony Wicks
         It is certified that error appears in the above-identified patent and that said Letters Patent is
         hereby corrected as shown below:

                  On the cover page: Item (30)

                 On the cover page, located under Foreign Application Priority Data (left hand
         column), delete “Dec. 21, 2004 and replace with --Dec 21, 2001--.
                  In the specification:

                  Column 5, Line 50 delete “Setookie' and replace it with-SetCookie--.




                                                                     Signed and Sealed this
                                                                  Sixth Day of March, 2007


                                                                                    WDJ
                                                                               JON. W. DUDAS
                                                           Director of the United States Patent and Trademark Office




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                                                         #: 66



                               UNITED STATES PATENT AND TRADEMARK OFFICE
                                    CERTIFICATE OF CORRECTION
 PATENT NO.                  : 7,152,018 B2                                                                                       Page 1 of 1
 APPLICATIONNO.              : 10/499578
 DATED                       : December 19, 2006
 INVENTOR(S)                 : Wicks

 It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

          On the title page, item (86), under "371 (c)(1), (2), (4) DATE:”, in Column 1, Line 1,
          delete “Nov. 4, 2004 and insert -- Jun. 21, 2004 --, therefor.

          On the title page, item (57), under “ABSTRACT, in Column 2, Line 10, delete “ides
          and insert -- provides --, therefor.
          In Column 3, Line 54, delete “Subdivide and insert -- Sub-divide --, therefor.

          In Column 5, Line 36, delete “10:234515: and insert -- 10:234.5/5: -, therefor.

          In Column 6, Line 3, delete “1899.11 and insert -- 1899/1 --, therefor.

          In Column 7, Line 11, delete “nontransient and insert -- non-transient --, therefor.

          In Column 7, Line 18, delete “unrealistic and insert -- unrealistic --, therefor.

          In Column 7, Line 38, delete “users and insert -- users --, therefor.




                                                                                         Signed and Sealed this
                                                                                        Third Day of July, 2012


                                                                                                     David J. Kappos
                                                                                Director of the United States Patent and Trademark Office




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